                  Case
2018 FLORIDA LIMITED    18-15111-LMI
                     LIABILITY         Doc 61-1REPORT
                               COMPANY ANNUAL     Filed                                                                04/22/19               Page 1 ofFILED
                                                                                                                                                        1
DOCUMENT# L12000096812                                                                                                                                Jan 17, 2018
Entity Name: 559 8TH STREET PARTNERS, LLC                                                                                                           Secretary of State
                                                                                                                                                     CC5115087833
Current Principal Place of Business:
9425 W BROADVIEW DRIVE
BAY HARBOR ISLANDS, FL 33154


Current Mailing Address:
250 95TH STREET
 #5867
SURFSIDE, FL 33154-2815 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
EISENSTADT, DAVID
250 95TH STREET
 #5867
SURFSIDE, FL 33154-2815 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: DAVID EISENSTADT                                                                                                                                               01/17/2018
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MANAGING MEMBER                                                                Title                  VP
Name                   EISENSTADT, DAVID                                                              Name                   EISENSTADT, SHOSHANA
Address                250 95TH STREET                                                                Address                250 95TH STREET
                        #5867                                                                                                 #5867
City-State-Zip:        SURFSIDE FL 33154-2815                                                         City-State-Zip:        SURFSIDE FL 33154-2815

Title                  AUTHORIZED MEMBER
Name                   EISENSTADT, JENNY
Address                9425 W BROADVIEW DRIVE
City-State-Zip:        BAY HARBOR ISLANDS FL 33154




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: DAVID EISENSTADT                                                                                            MANAGING MEMBER                                    01/17/2018
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
